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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                    )
                                             )
      Plaintiff,                             )
                                             )            Case No. 5:18-227-SLP
v.                                           )
                                             )
JOSEPH MALDONADO-PASSAGE,                    )
a/k/a Joseph Allen Maldonado                 )
a/k/a Joseph Allen Schreibvogel              )
a/k/a “Joe Exotic,”                          )
                                             )
      Defendant.                             )

             MOTION FOR LEAVE FOR CONVENTIONAL FILING

      Defendant, JOSEPH MALDONADO-PASSAGE, by and through the

undersigned counsel respectfully seeks leave to conventionally file a thumb drive

containing video and audio recording exhibits associated with the Defendant’s

Motion for New Trial and in support thereof states as follows:

      1.     The Defendant expects to file a Motion for New Trial on Thursday,

February 10, 2022.

      2.     Exhibits to the motion contain transcripts of phone calls that were

turned over to post-conviction counsel; however, the recordings themselves cannot

be uploaded to the docket via PACER. New video evidence is also referenced in

the motion and cannot be uploaded to the docket via PACER.

      3.     Defendant seeks to conventionally file a thumb drive containing the

video and audio recording exhibits.
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       4.    The thumb drive will be conventionally served on all parties at the time

of filing.

       WHEREFORE, Defendant respectfully requests this Court enter an Order

granting Defendants Motion for Leave to Conventionally File a thumb drive

containing exhibits associated with the Motion for New Trial and any other relief

this Court deems necessary and just.
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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 8, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF and a copy hereof has been
furnished to those registered participants of the ECF system.



                                                 /s/ John M. Phillips
                                                 John M. Phillips
                                                 Florida Bar No.:0477575
                                                 /s/ Amy M. Hanna
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